Case 2:22-cv-00614-SPC-NPM Document 33-14 Filed 02/29/24 Page 1 of 17 PagelD 2383

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION

JENNA CLARK,

Plaintiff,
Vv. Case No. 2:22-cv-614-SPC-NPM
CARMINE MARCENO, in his official

capacity as Sheriff of Lee County,
Florida,

Defendant.

DEFENDANT?’S RESPONSES TO PLAINTIFF’S
FIRST SET OF INTERROGATORIES

COMES NOW CARMINE MARCENO, as the duly elected Sheriff of Lee
County, Florida (“Sheriff’ or Defendant"), by and through his undersigned counsel
and pursuant to Rule 33 of the Federal Rules of Civil Procedure, hereby responds to
the First Set of Interrogatories served by Jenna Clark (“Plaintiff’ or “Clark’”) in this
litigation. With respect to each separately numbered paragraph of Plaintiff's First Set
of Interrogatories to Defendant (“Interrogatories,” or “Interrogatory,” if in the
singular), Defendant responds:

GENERAL OBJECTIONS TO INTERROGATORIES

Defendant objects to the Interrogatories’ definition of “Employment” as set
forth in the Definitions/Instructions as being overbroad in temporal scope. In
responding to these Interrogatories and unless otherwise indicated, Defendant defines
the term “Relevant Time Period” for discovery in this litigation as the temporal period

from September 4, 2019 (the date two years prior to Plaintiffs resignation) to

ALLEN NORTON & BLUE, P.A.
Case 2:22-cv-00614-SPC-NPM Document 33-14 Filed 02/29/24 Page 2 of 17 PagelD 2384

September 30, 2021 (the end of the month of Clark’s employment separation).
Responses to these Interrogatories are limited to this Relevant Time Period
Defendant also objects to producing more than once any of those documents which it
has identified in its Initial Disclosures under Rule 26(a), Federal Rules of Civil
Procedure.’ Finally, Defendant objects to producing the personal addresses and
telephone numbers of persons currently or formerly employed by the Lee County
SherifPs Office as such information is confidential. While the business address of
persons currently employed will be provided, all witnesses identified through these
Interrogatory Responses may be contacted, if necessary, through Defendant’s legal

counsel of record in this litigation.

INTERROGATORIES

INTERROGATORY.1 Identify all persons whom you contend have knowledge of
the facts and circumstances, including but not limited to any claims and/or
defenses, alleged in the Pleadings, including the facts which you contend are known
to each person, and for each person so identified, specify the subject matter about
which each such person has knowledge, the employer and job title of such person,
and the last known address and telephone number of that person.

ANSWER: Please see Defendant’s Rule 26(a)(1)(A) Disclosures in this
litigation.

' As an alternative to allowing inspection of documents identified in its Rule 26(a) Disclosures and
those additional documents which Defendant references herein, Defendant will produce copies of all
responsive documents within a reasonable time after receipt of a written request to do so from

Plaintiff's counsel.
2:

ALLEN NORTON & BLUE, P.A.
PROFESSIONAL ASSOCIATION
Case 2:22-cv-00614-SPC-NPM Document 33-14 Filed 02/29/24 Page 3 of 17 PagelD 2385

INTERROGATORY.2 Identify the name, address, telephone number and email
address of any person, entity or internal department who provided information,
consultation, or assistance with answering these Interrogatories. If applicable,
please include an identified person’s official position or relationship to the
Defendant.

ANSWER: I have answered these interrogatories from my own personal
knowledge, as well as from information provided to me by the following
individuals:

Annmarie Reno,

Executive Director, Support Services, Lee County Sheriff’s Office (“LCSO” or
“Sheriffs Office’’)

14750 Six Mile Cypress Parkway, Fort Myers, Florida 33912

Dawn Heikkila
Director of Human Resources/Risk Management, LSCO
14750 Six Mile Cypress Parkway, Fort Myers, Florida 33912

Abbi J. Smith, Esquire

Chief Counsel

Legal Services Executive Bureau, LCSO

14750 Six Mile Cypress Parkway, Fort Myers, Florida 33912

Crystal Gambino
Finance Director, LCSO
14750 Six Mile Cypress Parkway, Fort Myers, Florida 33912

Doreen Salvagno
FRS Retirement Coordinator, LCSO
14750 Six Mile Cypress Parkway, Fort Myers, Florida 33912

3

ALLEN NORTON & BLUE, P.A.
PROFESSIONAL ASSOCIATION
Case 2:22-cv-00614-SPC-NPM Document 33-14 Filed 02/29/24 Page 4 of 17 PagelD 2386

INTERROGATORY.3 List all documents, with particularity, that you consulted,
relied on, or have any relation to the substance of these interrogatories even if you
did not consult with such documents to prepare these Interrogatories. Please state
the title of each document, identify its signatories, including their titles, the date the
document was prepared, signed, and the name of its present custodian and present
location. Please include and list separately, any and all drafts of each document.
Finally, if a document is stored electronically and/or in binary format, please state
the location of the hard drive or other media where the information is stored.

ANSWER: Objection is made to this interrogatory insofar as phrased, it is
overbroad, burdensome, seeks relevant documents not proportional to the needs
of the case, and seeks documents protected from disclosure by the attorney-client
and work-product privileges.

4

ALLEN NORTON & BLUE, P.A.
PROFESSIONAL ASSOCIATION
Case 2:22-cv-00614-SPC-NPM Document 33-14 Filed 02/29/24 Page 5 of 17 PagelD 2387

INTERROGATORY.4 State every known instance Defendant or its agent(s)
reprimanded, counseled, or otherwise disciplined Plaintiff, whether oral, written,
or otherwise. Include the extent of the punishment for Plaintiffs alleged violation
and describe the applicable internal policy. Additionally, please include the name
of the individual who reprimanded Plaintiff on Defendant’s behalf.

ANSWER: Objection is made to this interrogatory insofar as phrased, it is
overbroad, burdensome, seeks relevant documents not relevant to issued raised
in Clark’s Complaint and thus is not proportional to the needs of the case, and
seeks documents protected from disclosure by the attorney-client and work-
product privileges.

5

ALLEN NORTON & BLUE, P.A.
PROFESSIONAL ASSOCIATION
Case 2:22-cv-00614-SPC-NPM Document 33-14 Filed 02/29/24 Page 6 of 17 PagelD 2388

INTERROGATORY.5 For the last seven (7) years, state in detail any and all prior
allegations made against Defendant for discrimination, retaliation, or any unlawful
employment practice under State, Federal or local law or ordinance. Such
complaints include those your employees/agents made, internally, formal, or
otherwise, and those employment grievances filed against the Defendant with any
governmental administrative agency, including, but not limited to the Equal
Employment Opportunity Commission (“EEOC”), the Florida Commission on
Human Relations (“FCHR”), or any other federal, state or local agency, concerning
an employee’s grievance with the Company’s policy.

For each claim:
A. List the name, address and telephone number for the claimant and
his/her attorney;
B. The nature of the event;
C. Names and address of all parties involved;
D. The date and manner in which the event was resolved;
E. If any Court filings, the caption of the action with the name and
address of the Court and the file/index number assigned to the action.

ANSWER: Objection is made to this interrogatory insofar as phrased, it is
overbroad, burdensome, seeks relevant documents not relevant to issued raised
in Clark’s Complaint and thus is not proportional to the needs of the case, seeks
documents which are confidential, and seeks documents protected from
disclosure by the attorney-client and work-product privileges.

6

ALLEN NORTON & BLUE, P.A.
PROFESSIONAL ASSOCIATION
Case 2:22-cv-00614-SPC-NPM Document 33-14 Filed 02/29/24 Page 7 of 17 PagelD 2389

INTERROGATORY.6 Describe any employment benefits Plaintiff received
during her employment with Defendant, including but not limited to, Plaintiffs
salary, in addition to health insurance benefits, sick leave benefits, or any other
benefits Plaintiff was entitled to or eligible to receive as an employee of Defendant.

ANSWER: Objection is made to this interrogatory insofar as phrased, it is
overbroad, burdensome, seeks relevant documents not relevant to issues raised
in Clark’s Complaint and thus is not proportional to the needs of the case.

Notwithstanding these objections and without waiving them, during the
Relevant Time Period Clark was a participant in the Florida Retirement System,
received administrative leave with pay upon proper authorization, and was
eligible for all benefits associated with full-time employment as a civilian
member of the agency, as described in Chapter 22 of the Sheriff’s Operations
Manual.

Both before and during the Relevant Time Period, Clark was also eligible for
and was approved to use FMLA leave benefits and was assigned an agency
vehicle.

7

ALLEN NORTON & BLUE, P.A.
PROFESSIONAL ASSOCIATION
Case 2:22-cv-00614-SPC-NPM Document 33-14 Filed 02/29/24 Page 8 of 17 PagelD 2390

INTERROGATORY.7 Please identify each and every person from whom you, or
anyone acting in your behalf, has obtained any report, statement, recording,
memorandum or testimony, whether signed or not, and whether prepared by
someone other than said person or not, concerning the facts of this lawsuit. Include
in your answer the identity of the custodian of same.

ANSWER: Objection is made to this interrogatory to the extent it seeks the
disclosure of communications protected by the attorney-client
and/or work product privileges.

Notwithstanding these stated objections, Defendant has not
obtained any non-privileged reports, statements, recordings,
memoranda or testimony concerning the facts of this lawsuit as
presented in Clark’s Complaint in this litigation.

INTERROGATORY.8 List any and all written and/or recorded statements or
reports of all witnesses of potential witnesses in this lawsuit in your possession,

custody or control, excluding any privileged reports or statements between any
party to this action and the party’s attorneys.

ANSWER: Defendant has not obtained any non-privileged recorded
statements or reports from potential witnesses in this lawsuit.

8

ALLEN NORTON & BLUE, P.A.
PROFESSIONAL ASSOCIATION
Case 2:22-cv-00614-SPC-NPM Document 33-14 Filed 02/29/24 Page 9 of 17 PagelD 2391

INTERROGATORY.9 — Identify all persons involved in and/or otherwise aware on
the investigation into Plaintiffs complaints and accusations as related to her
employment with Defendant and the asserted discriminatory practices, including,
but not limited to, human resources personnel, supervisors, employees,
independent contractors, or any other person who acted as Defendant’s agent, and
for each person so identified, specify the subject matter about which each such
person has knowledge, the employer and job title of such person, and the last known
address and telephone number of that person. Include in your response all
documents prepared, obtained, and/or otherwise reviewed during the course of any
such investigation.

ANSWER: Objection is made to this interrogatory insofar as phrased, it is
overbroad, burdensome, seeks relevant documents not relevant
to issued raised in Clark’s Complaint and thus is not
proportional to the needs of the case, seeks documents which
are confidential, and seeks documents protected from
disclosure by the attorney-client and work-product privileges.

9

ALLEN NORTON & BLUE, P.A.
PROFESSIONAL ASSOCIATION
Case 2:22-cv-00614-SPC-NPM Document 33-14 Filed 02/29/24 Page 10 of 17 PageID 2392

INTERROGATORY. 10 Identify all employees who were responsible for either
preparing and/or administering Defendant’s personnel, employee(s) and human
resources policies, trainings, and/or procedures during the Plaintiff's employment
with Defendant, including but not limited to the employee(s) designated and.
responsible for receiving and investigating complaints of discrimination,
harassment, and/or retaliation from employees.

ANSWER: Objection is made to this interrogatory insofar as phrased, it is
overbroad, burdensome, seeks documents not relevant to at
stake in this action as or as raised in Clark’s Complaint and
thus is not proportional to the needs of the case, seeks
documents which are confidential, and seeks documents
protected from disclosure by the attorney-client and work-
product privileges.

Notwithstanding these stated objections and without waving
them, Chapter 26 of the Sheriff?s Operations Manual in effect
during the Relevant Time Period identifies those persons and
Departments responsible for receiving reported discrimination
or harassment. This chapter of the Operations Manual is being
produced as part of Defendant’s response to Clark’s First
Request for Production in this litigation.

INTERROGATORY. 11 Describe in detail the criteria and methodology used in
selecting employees to be terminated and/or have their positions eliminated as part
of the reduction in force conducted by Defendant in or around 2021, including the
name, age, and title of the employee(s) responsible for choosing the criteria and
methodology.

ANSWER: The Sheriff asked senior management of the LSCO to review
current operations to recommend ways to improve efficiencies
in light of budgeted authorizations and escalating expenses and
obligations. As Undersheriff of the LCSO, I presided over
these determinations and the selection process for improving
efficiencies through position eliminations.

10

ALLEN NORTON & BLUE, P.A.
PROFESSIONAL ASSOCIATION
Case 2:22-cv-00614-SPC-NPM Document 33-14 Filed 02/29/24 Page 11 of 17 PagelD 2393

INTERROGATORY. 12 Identify each employee of Defendant who was terminated
and/or had their position eliminated as part of the reduction in force conducted by
Defendant in or around 2021, including the name, age, gender, title, and direct
supervisor of each employee identified.

ANSWER: Since Clark was not eligible for any certified positions at the
time of her resignation, this response is limited to only civilian
positions eliminated as part of the agency-wide reduction in
force in 2021, where the incumbent in the position left the
agency. The following civilian positions were eliminated in
2021 as a consequence of the agency reorganization efforts to
improve efficiencies, with the incumbent leaving his/her

employment with the agency or accepting a lower position for
less pay:

Director of Fleet Management
(James Jones; 51 years old, male; supervised by Jeremiah Marcotte)

Director of Purchasing

(Jenna Clark; 59 years old, female; supervised by Annmarie Reno)
Communications Manager

(Anthony Ramsey; 46 years old, male; supervised by Karen Ciofani)
Community Liaison (Amy DellAquilla; 58 years old, female;

supervised by Michael Truscott)

Senior Services Coordinator

(Jami Bartz; 58 years old, female; supervised by Claire Schell)
Secretary of Traffic

(Marsha Sprankel; 66 years old, female; supervised by Dennis Petraca)

1]

ALLEN NORTON & BLUE, P.A.
PROFESSIONAL ASSOCIATION
Case 2:22-cv-00614-SPC-NPM Document 33-14 Filed 02/29/24 Page 12 of 17 PagelD 2394

INTERROGATORY. 13 For each employee of Defendant who was terminated
and/or had their position eliminated as part of the reduction in force conducted by
Defendant in or around 2021, list every leave request submitted by that employee,
including but not limited to any paid leave requests, sick leave requests, and/or
FMLA leave requests, and please state: (1) the date of the request; (2) the type of
leave requested; (3) the employee responsible for evaluating and/or approving the

request; (4) whether the request was approved or denied; and (5) the dates of the
approved leave.

ANSWER: Objection is made to this interrogatory insofar as phrased, it is
overbroad, burdensome, seeks documents not relevant to issues

raised in Clark’s Complaint and thus is not proportional to the
needs of the case.

12

ALLEN NORTON & BLUE, P.A.
PROFESSIONAL ASSOCIATION
Case 2:22-cv-00614-SPC-NPM Document 33-14 Filed 02/29/24 Page 13 of 17 PagelID 2395

INTERROGATORY. 14 Identify the employee(s) responsible for designating
and/or approving the Plaintiffs leave requests, including but not limited to, paid
leave requests, sick leave requests, and/or FMLA leave requests, during the
PlaintifPs employment with Defendant.

ANSWER: Objection is made to this interrogatory insofar as phrased, it is
overbroad, burdensome, seeks relevant documents not relevant
to issued raised in Clark’s Complaint and thus is not
proportional to the needs of the case.

During the Relevant Time Period, Clark’s requests for the use
of accrued leave benefits would have been submitted to
Annmarie Reno, and FMLA leave requests would have been
submitted to Dawn Heikkila.

INTERROGATORY. 15 _ Identify all leave requests made by the Plaintiff during her
employment, including but not limited to, paid leave requests, sick leave requests,
and/or FMLA leave requests, and please state: (1) the date of the request; (2) the
type of leave requested; (3) the employee responsible for evaluating and/or

approving the request; (4) whether the request was approved or denied; and (5) the
dates of the approved leave.

ANSWER: Objection is made to this interrogatory insofar as phrased, it is
overbroad, burdensome, seeks relevant documents not relevant
to issued raised in Clark’s Complaint and thus is not
proportional to the needs of the case.

Leaves from scheduled work taken during the Relevant Time
Period are identified in Clark’s Time Sheets and VCS
Scheduling Software Requests, which are being produced as part

of Defendant’s response to Clark’s First Request for Production
in this litigation.

13

ALLEN NORTON & BLUE, P.A.
PROFESSIONAL ASSOCIATION
Case 2:22-cv-00614-SPC-NPM Document 33-14 Filed 02/29/24 Page 14 of 17 PagelD 2396

INTERROGATORY. 16 Identify all civilian job postings with Defendant which
were available for the Plaintiff to apply to at the time of her termination and please
state: (1) the title of the position, (2) the rate of pay of the position; (3) the date on
which Plaintiff was notified she could apply for the position; and (4) the name of
the individual who notified Plaintiff that she could apply for the position.

ANSWER: As of August 15, 2021 when the Sheriff's Office Human
Resources personnel notified Clark that her position as
Director of Purchasing was being eliminated effective

September 4, 2021, the following two civilian positions were
available:

Communication Call Taker (salary of $36,500 annualized)
Automotive Mechanic (salary range of $30,264 - $56,160)

14

ALLEN NORTON & BLUE, P.A.
PROFESSIONAL ASSOCIATION
Case 2:22-cv-00614-SPC-NPM Document 33-14 Filed 02/29/24 Page 15 of 17 PagelID 2397

INTERROGATORY. 17 Identify each person you intend to call as a fact or expert
witness in this action. For each person identified, provide the following
information: (a) the name, address, and telephone number for that person; (b) a

description of your relationship to the identified person, if any; and (c) the substance
of the proposed testimony of that witness.

ANSWER: No expert has been identified as being needed for this
litigation.

15

ALLEN NORTON & BLUE, P.A.
PROFESSIONAL ASSOCIATION
Case 2:22-cv-00614-SPC-NPM Document 33-14 Filed 02/29/24 Page 16 of 17 PagelID 2398

INTERROGATORY. 18 State the terms of any insurance agreement under which
any person or entity engaged in the insurance business may be liable to satisfy part
or all of any judgment which may be entered against Defendant in this action.

ANSWER: The insurance policy coverage Agreement and Declarations are

being produced as part of Defendant’s response to Clark’s First
Request for Production in this litigation.

16

ALLEN NORTON & BLUE, P.A.
PROFESSIONAL ASSOCIATION
Case 2:22-cv-00614-SPC-NPM Document 33-14 Filed 02/29/24 Page 17 of 17 PagelID 2399

VERIFICATION
STATE OF FLORIDA )
COUNTY OF LEE )

BEFORE ME, the undersigned authority, personally appeared JOHN
HOLLOWAY, who, after being first duly sworn, deposes and says that the
foregoing answers to Jenna Clark’s First Set of Interrogatories to Defendant
CARMINE MARCENO, are true and accurate.

C/A FU

John Holloway, Undersheriff
Lee County Sheriffs Office

aA
SWORN TO AND SUBSCRIBED before me this” day of February 2023.

TIFFANY J. POWE-SALTERS

EP ALS commission HH 034171
‘SycoAL iS? Expires September 8, 2024 : d
§ EGET” Bonded Thu Troy Faln Insureace 800-385-7019

NOTARY PUBLIC
State of Florida at Large

My Commission Expires:

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Personally known —

OR Produced identification

Type of Identification

Produced:

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